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                   IN THE UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                 )
                                         )
      Plaintiff,                         )
                                         )
              v.                         )     CIVIL NO. __________
                                         )
                                         )
133 ACRES OF LAND, MORE OR LESS,         )
SITUATE IN DORCHESTER COUNTY,            )
MARYLAND,                                )
                                         )
UNKNOWN HEIRS OF ELMER HANCOCK,          )
                                         )
JUDITH PERRINE                           )
20 Sassman Lane                          )
Kingston, NJ 08528,                      )
                                         )
DAVID PERRINE                            )
25 Rutledge Ave.                         )
Ewing, NJ 08618,                         )
                                         )
ROBERT C. PERRINE, SR.                   )
3416 Palestine Rd.                       )
Huntington, AR 72940,                    )
                                         )
JAMES C. PERRINE                         )
306 White Pines Cir.                     )
Lawrenceville, NJ 08648,                 )
                                         )
DEBORAH HANCOCK                          )
648 Old York Rd.                         )
East Windsor, NJ 08520-2916,             )
                                         )
VICTORIA S. GEORGIC                      )
4112 Loring St.                          )
Butler, PA 16001-2988,                   )
                                         )
RUTH VIRGINIA HANCOCK-STEFAN             )
852 Williams St.                         )
Emmaus, PA 18049-2838,                   )
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SARAH JEAN HANCOCK HUTCHINSON             )
204 Greeley Street                        )
Hightstown, NJ 08520,                     )
                                          )
ANN ELAINE HANCOCK VALLASTER              )
12 Bradford Road                          )
Hightstown, NJ 08520,                     )
                                          )
MARYJEAN HANCOCK                          )
860 Wright Debow Rd.                      )
Jackson, NJ 08527,                        )
                                          )
GALE MILLER                               )
Address Unknown,                          )
                                          )
CONSTANCE MILLER                          )
Address Unknown,                          )
                                          )
MARK L. RANIERE                           )
433 Chester St. SE                        )
Marietta, GA 30060,                       )
                                          )
PAUL DOUGLAS RANIERE                      )
3637 Sunset Ridge                         )
Powder Springs, GA 30127,                 )
                                          )
EARL GROENDYKE                            )
881 Windsor Perrineville Rd.              )
East Windsor, NJ 08520,                   )
                                          )
BRUCE GROENDYKE                           )
144 Center St.                            )
Hightstown, NJ 08520,                     )
                                          )
GARY GROENDYKE                            )
528 Stagecoach Rd.                        )
Millstone Township, NJ 08510,             )
                                          )
ROBERT HANCOCK                            )
14 Center St.                             )
Neptune, NJ 07753,                        )
                                          )
DENISE L. HOY                             )
75 Tavitian Blvd.                         )
Marlborough, MA 01752,                    )

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GRAY WILLIAMS                                  )
7808 Hillock Ter.                              )
Austin, TX 78744,                              )
                                               )
JOAN CONOVER                                   )
The Lodge at Old Trail                         )
Seasons Memory Care Rm. 99                     )
330 Claremont Ln.                              )
Crozet, VA 22932,                              )
                                               )
CHARLOTTE CONOVER                              )
1623 Pennecamp Drive                           )
The Villages, FL 32162-3212,                   )
                                               )
BARBARA SCHUYLER                               )
Address Unknown,                               )
                                               )
DORCHESTER COUNTY, TREASURY OFFICE )
c/o Michael J. Spears, Director of Finance and )
Collector of Taxes                             )
501 Court Lane, Room 102                       )
Cambridge, Maryland 21613                      )
                                               )
                                               )
       Defendants.                             )
_________________________________________ )


                            COMPLAINT IN CONDEMNATION

       1.      This is a civil action brought by the United States of America, at the request of the

U.S. Department of the Interior (“Interior”), for the taking of land in Dorchester County,

Maryland, under its power of eminent domain and through a Declaration of Taking, and for

the determination and award of just compensation to the owners and parties in interest.

       2.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1358. Venue is proper under 28 U.S.C. § 1403.

       3.      The authority for the acquisition is set forth in Schedule A, which is attached

hereto and made a part hereof.

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       4.      The public purpose for which the land is taken is set forth in Schedule B,

which is attached hereto and made a part hereof.

       5.      A legal description of the land taken is set forth in Schedule C, which is

attached hereto and made a part hereof.

       6.      A plat (map) showing the land taken is set forth in Schedule D, which is attached

hereto and made a part hereof.

       7.      The estate taken in the land is described in Schedule E, which is attached hereto

and made a part hereof.

       8.      The estimate of just compensation is stated in Schedule F, which is attached

hereto and made a part hereof.

       9.      The names and addresses of known parties having or claiming an interest in said

land are set forth in Schedule G, which is attached hereto and made a part hereof.

       WHEREFORE, Plaintiff United States of America requests judgment that the property

and interests be condemned, that just compensation for the taking be ascertained and awarded,

and the Court award such other relief as may be lawful and proper.




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DATED: February 18, 2022           Respectfully submitted,

                                   TODD KIM
                                   ASSISTANT ATTORNEY GENERAL
                                   ENVIRONMENT AND NATURAL RESOURCES
                                   DIVISION

                                   EREK L. BARRON
                                   UNITED STATES ATTORNEY


                                       /s/ Tarra Deshields
                           By:     TARRA DESHIELDS
                                   Assistant United States Attorney
                                   36 South Charles Street, 4th Floor
                                   Baltimore, Maryland 21201
                                   MD Bar No. 07749
                                   Tel: (410) 209-4800
                                   Fax: (410) 962-9947
                                   E-mail: TDeshields@usa.doj.gov

                                   SCOTT W. STEMETZKI
                                   Trial Attorney
                                   Bar No. 1030512 (Washington, DC)
                                   Environment & Natural Resources Div.
                                   U.S. Department of Justice
                                   P.O. Box 7611 – Ben Franklin Station
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                                   Attorneys for Plaintiff United States of America




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